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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   ________________________________
                                    )
   PHILLIS WINDY HOPE REILLY and    )
   MICHAEL P. REILLY                )
                                    )
              Plaintiffs,           )
                                    )
         v.                         )                No. 15-349-REB-CBS
                                    )
   6480 PICKNEY, LLC,               )
   PARKER WALTON, and               )
   CAMP FEEL GOOD, LLC              )
                                    )
              Defendants.           )
   ________________________________ )

                  STIPULATED STATEMENT OF CLAIMS AND DEFENSES
                        THAT SHOULD BE GIVEN TO THE JURY

          Pursuant to REB Civ. Practice Standard IV.E.4.a(1), the parties submit this

   stipulation of claims and defenses that should be given to the jury in the trial of this

   matter.

          The only claims to be presented to the jury are Counts I and V of the Complaint.

   With respect to Count I, the Court entered partial summary judgment that all three

   remaining Defendants violated 18 U.S.C. § 1962(c). Accordingly, the only issues to be

   decided by the jury for purposes of Count I are: (1) whether Plaintiffs’ property has been

   injured; (2) whether Defendants’ conduct is the cause of any such injury; and (3) the

   amount of Plaintiffs’ damages. Safe Streets Alliance v. Hickenlooper, 859 F.3d 865, 881

   (10th Cir. 2017). The Court also entered summary judgment with respect to Count V,

   ruling that Mr. Walton violated 18 U.S.C. § 1962(c). Count V is identical to Count I for


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   purposes of the issues the Court did not resolve in its summary judgment ruling except

   that Mr. Walton is the only defendant. Accordingly, the issues to be decided by the jury

   for purposes of Count V are: (1) whether Plaintiffs’ property has been injured; (2)

   whether Mr. Walton’s conduct is the cause of any such injury; and (3) the amount of

   Plaintiffs’ damages. Safe Streets Alliance v. Hickenlooper, 859 F.3d 865, 881 (10th Cir.

   2017).

            All stipulated and contested jury instructions, along with the parties’ contested

   verdict forms, are being filed as exhibits to this document and will also be submitted to

   the Court via electronic mail.


   Date: September 29, 2018                        Respectfully submitted,

    s/ Matthew W. Buck                                s/ David H. Thompson
    Matthew W. Buck                                   David H. Thompson
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                                                      Counsel for Plaintiffs Phillis Windy Hope
                                                      Reilly, and Michael P. Reilly



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                                CERTIFICATE OF SERVICE

         I hereby certify that on September 29, 2018, I electronically filed the foregoing

   with the Clerk of Court using the CM/ECF system, which will send notification of such

   filing to all attorneys who have entered appearances in this case.


                                                   s/ David H. Thompson
                                                   David H. Thompson




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